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                                                                                                 Application granted. The parties are
                                                       / / Richa d A. Che e                      directed to submit a joint status update
                                                                                                 on or before February 3, 2021.
                                                       R           A. C
                                                                                                 SO ORDERED.
    :       J     R. S

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                                                                                                 Hon. Ronnie Abrams
                                                                                                 01/28/2021
